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                             UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  SOUTHERN DIVISION

JOSE JOAQUIN SANTANA, JR.,                        )
      PLAINTIFF                                   )
                                                  )
vs.                                               )       CAUSE NO. 1:19-cv241 HSO-JCG
                                                  )
AARON’S INC.,                                     )
    DEFENDANT                                     )

                     PLAINTIFF’S MEMORANDUM IN OPPOSITION TO
                    DEFENDANT’S MOTION FOR SUMMARY JUDGMENT


           The Plaintiff, JOSE JOAQUIN SANTANA, JR. (“Santana”), by and through counsel, files

this his Memorandum in Opposition to Defendant’s Motion for Summary Judgment and supporting

memorandum [Docket No. 98 and 99]. In support of the same, Plaintiff submits the following:

                          FACTUAL AND PROCEDURAL BACKGROUND

      I.       DEFENDANT’S OPERATIONS

      In its Motion, Defendant holds itself out to simply be a retailer of residential furniture, consumer

electronics, home appliances, and accessories, operating a chain of stores nationwide. However,

Defendant’s typical practices differentiate it from the common retail store. Defendant labels itself the

leader in “lease-to-own furniture, appliances, and electronics” where consumers enter into a leasing

program and make monthly payments in exchange for the goods sold 1. In financing the majority of

the items sold, Defendant’s role shifts from retailer to creditor after almost every purchase.

      In a lease-to-own transaction, customers rent an item – typically a major household appliance or

piece of furniture – for a monthly cost that’s usually much lower than a monthly loan payment would




1   https://www.aarons.com/about-us.html

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be. The rate is attractive because it seems more affordable than an up-front purchase or typical

payment plan. After completing payment in full over the term of the rental, the customer owns the

item. But that rental period is a much longer one, and after calculating the total expense, the buyer

ends up paying far more than a conventional loan would have demanded. Typical rent-to-own

customers have poor or nonexistent credit and cannot rely on traditional means of financing to make

large purchases. This lease-to-own model requires employees of stores, such as the Defendant’s, to

ultimately become debt collectors and, potentially, repossess goods that have fallen into non-payment.

This substantially changes the dynamic you typically see between customer and salespeople in the

traditional retail environment.

       II.      PLAINTIFF’S EXTENSIVE EMPLOYMENT HISTORY

       Plaintiff has a history with Defendant far beyond what is outlined in Defendant’s Motion. Plaintiff

has worked for Defendant over the span of an almost thirteen year period – during which he provided

quality work and was an asset to the company. Unfortunately, this history is also riddled with

discriminatory practices and unprofessional conduct on the part of the Defendant.

                a. Initial Employment: November 2005-May 2012

             In November 2005, Defendant first began working with Defendant (then Homestart). See

Exhibit A. He was hired as a manager trainee on October 6, 2005 at a store in Cayce, South Carolina.

In November 2005, Plaintiff executed a Driver Exemption Form. Said form is attached hereto as

Exhibit B. In 2010, Plaintiff was diagnosed a second time with a brain tumor2. As a result, Plaintiff

relocated to Columbia, South Carolina to be closer to medical care, but retained his employment with

Defendant as General Manager.

             In 2012, Plaintiff was forced to take Family Medical Leave Act (“FMLA”) leave to undergo

and recover from a second brain surgery. In 2013, without warning, Plaintiff was terminated by his


2   Plaintiff’s original diagnosis occurred in May 2004.

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then-Regional Manager, Paula Hilley - despite excellent store performance and profitability of the

store he was managing. However, Plaintiff was focused on his health and his deteriorating vision, so

while he questioned the reasoning and whether it was because of his worsening disability, he did not

pursue further explanation.

            b. Reinstatement: June 2012-June 2015

        In less than thirty days, on June 11, 2012, Plaintiff was asked to return to work for Defendant

as General Manager in South Carolina and was subsequently reinstated. See attached Exhibit C. He

remained in this position with no issue or disciplinary action until June 2015. At that time, he was

told by his manager, Dooley Pellerin, that he was being terminated and specifically noted that Plaintiff

had “to be able to drive” to hold this position. This statement came with no warning and years after

he executed his Driver Exemption Form. However, this was foreshadowed by one of his Regional

Managers, Sam Rhinehart, prior to his departure from the South Carolina region. Attached hereto is

the affidavit of Sam Rhinehart as Exhibit D. See also (See Exhibit Z; Santana June 28, 2021 Dep.

27:5-12)

            c.   Reinstatement: August 2015-September 2018

        In August of 2015, Plaintiff’s former Regional Manager, Sam Rhinehart, needed a reliable,

trustworthy employee in his new region on the Mississippi Gulf Coast. See Exhibit D. So, he reached

out to Plaintiff who was immediately reinstated and paid by the Defendant to relocate to D’Iberville,

Mississippi. See Exhibit E and F. Plaintiff executed another Driver Disqualification Form on

September 18, 2015. See Exhibit G. Plaintiff was initially utilized as a ‘floater’ to assist at various

stores across the state of Mississippi before he was finally given the position of General Manager at

the D’iberville store.

        In October 2016, Plaintiff underwent a routine examination by his physician, Dr. Debra

LaPrad, who noted that he should not be issued a driver’s license given the severe deterioration of his


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eyesight. In December of 2016, Plaintiff voluntarily surrendered his driver’s license as acknowledged

by the Mississippi Department of Public Safety in Exhibit H. This information was shared with

Plaintiff’s then-Regional Manager, Brent Duncan and then-Senior Regional Manager, Sam Rhinehart.

         In March of 2017, Jamie Lively became Regional Manager and Plaintiff’s supervisor. Upon

his departure, Sam Rhinehart shared concerns, again, that he felt management was taking issue with

Plaintiff’s inability to drive due to his disability. See Exhibit D. Plaintiff heeded this warning and

attempted to have a working relationship with Lively; however, it became clear that Rhinehart’s

warnings would prove accurate. Plaintiff noted that when Lively discovered the extent of his disability

he would begin his crusade against him. (See Exhibit Z; Santana June 28, 2021 Dep. 27:5-12)

Ultimately, this ‘issue’ escalated when Plaintiff was informed by Lively that he would be requiring

Plaintiff to drive in November 2017. Plaintiff was not aware if Lively was made aware that he had

been disqualified to drive since his reinstatement in 2015 and since he relinquished his license in 20163.

((See Exhibit Z; Santana June 28, 2021 Dep. 54-55) Further, Plaintiff noticed that he was treated

differently than the other General Managers supervised by Lively. (See Exhibit Z; Santana June 28,

2021 Dep. 28-31)

                        i. The January 24th CAF (“CAF-1”)

         On January 24, 2018, Plaintiff received the first Corrective Action Form (“CAF-1”) from

Supervisor Jamie Lively and said document is attached hereto as Exhibit I. Other than one previous

CAF that was issued by his then-supervisor Brent Duncan4, this was the first Corrective Action Form

(“CAF”) the Plaintiff had received during his employment. This CAF mentioned three (3) different

incidents, which span over a time period of five (5) months, all of which Lively claimed that Plaintiff

had not completed his “end of day checklist”. Plaintiff has testified that he did not know what


3 Admittedly, Lively noted that there was no discussion with previous supervisors as he transitioned into the role of
Regional Manager. ((See Exhibit Y; Lively Dep. 14)
4 This CAF is attached hereto as Exhibit J. This CAF was issued due to a failed privacy and security audit.



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checklist Lively was referring to nor did he have a copy. (See Exhibit Z; Santana June 28, 2021 Dep.

72:4-11). Defendant has yet to provide a copy of this elusive checklist in discovery.

        In support of this CAF-1, Defendant provides a copy of a Regional Managers Compliance

Checklist, completed on December 21, 2017, and is attached as Exhibit K. According to Lively, this

document is to be completed every (6) months by the Regional Manager. (See Exhibit Y; Lively Dep.

32) Interestingly, the December 21, 2017 report was the only document of its kind produced by the

Defendant. It is clear that there should have been more produced that would have be completed

during Plaintiff’s tenure as General Manager, including a subsequent one completed by Jamie Lively

in or around June 2018. (See Exhibit Y; Lively Dep. 32-33)

                    ii. The March 14th CAF (“CAF-2”)

        On March 14, 2018, Plaintiff received CAF-2 which consisted of two different allegations with

regard to Jose’s job performance. CAF-2 is attached as Exhibit L. First, Lively provided narrative

regarding an email he received on March 13, 2028 from Steve Smith, a General Manager at another

Aaron’s location. In support of CAF-2, Defendant produced an email which was sent to Jamie Lively,

seemingly at this request, almost a month after the incident occurred. The email is attached hereto as

Exhibit M.

        However, Defendant’s failed to produce an email from the day of the incident between the

Plaintiff and the General Manager which provided further explanation about what happened as this

was a miscommunication between colleagues. See Exhibit N. Plaintiff and another General Manager

had a miscommunication and a couple of heated conversations – both later apologized. However,

Lively did not want to hear the explanation for the incident and did not wish to review the email sent

by the other General Manager. (See Exhibit Z; Santana June 28, 2021 Dep. 87:3-8)

        Additionally, Lively attempts to again allege that Plaintiff did not complete his end-of-day

checklist on March 5, 2018 and March 13, 2018, claiming that the trucks were left in a state of disarray


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on both days and “pictures are attached”.5 First, no pictures were produced to support CAF-2.

Secondly, Lively’s allegations included a day that Plaintiff was not even at work on March 13th as noted

at the bottom of CAF-2. Lively arrived on March 14th before Plaintiff and had not had a chance to

perform checks on the trucks from his day off. (See Exhibit Z; Santana June 28, 2021 Dep. 86:6-23)

                       iii. The May 18th CAF (“CAF-3”)

         CAF-3 was issued on May 18, 2018 by Jamie Lively and presented a series of customer

complaints that allegedly occurred between April 16 and May 7, 2018. See Exhibit O. However,

Lively’s handling of the first incident listed (April 16th) puts into question the validity of the whole

document.

         An incident occurred with a customer on April 16, 2018 which apparently led to a customer

complaint as reported by Lively on April 16th6. See Exhibit P. The next day, Lively requested that

one of the associates present, Kaila Smith, provide a statement of what occurred. Smith provided this

statement on April 17, 2018 at 11:55AM. See Exhibit Q. However, this statement did not satisfy

Lively’s narrative, so he demanded that Smith amend her statement to better reflect his narrative. See

Exhibit R. Smith amended her statement; however, this was not her observation. Attached hereto

as Exhibit S is the affidavit of Kaila Smith.

         She later reported to Danielle Riecke that she felt uncomfortable amending her statement and

that she felt Lively had an issue with Plaintiff. Further, this was the only incident she was ever asked

about despite being present for others alleged the CAF. See Exhibit S.

         On April 19, 2018, Plaintiff filed an internal complaint through the employee hotline, noting

discrimination as the primary issue, against his supervisor, Jamie Lively. Attached hereto as Exhibit



5 It is worth noting to the Court that Lively indicated on the CAF that he expected Plaintiff to ‘visually verify’ the state
of the trucks at the end of the workday while aware that Plaintiff has a visual disability and did not drive these vehicles.
6 Curiously, while the Customer Opportunity Details Number is listed in the email, the full report was not provided by

Defendants as with other complaints.

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T is the EthicsPoint Incident Management report with emphasis added. The complaint noted that he

believed this behavior had been ongoing for three months to a year. Plaintiff detailed the most recent

incident and noted that he believed these actions were as a result of Lively’s issue with his disability.

At all times, Plaintiff rooted his concerns in the possibility that these things were occurring due to his

disability.

         Further, at the time this complaint was made, not only had Lively started issuing CAFs (which,

historically, is absent from Plaintiff’s employment) but he had also asked another employee to amend

a statement to conform to his narrative in an effort to build a case to termination against Plaintiff. It

was clear at this point that Lively was attempting to construct this narrative to get Plaintiff terminated.

See Exhibit R. The notes in the complaint investigation even noted that “GM Jose’s performance is

meeting expectations in the majority of the categories” and none of the disciplinary actions were due

to “metrics in the store”. It is obvious that all of the negative impact was stemming from Lively’s

CAFs. See Exhibit T at page 4, emphasis added.

         On April 29, 2018, Plaintiff forwarded a statement in support of his internal complaint to

Danielle Riecke following an April 28th phone call with her. See Exhibit U. Again, Plaintiff noted

that, since there was not an issue with his job performance with regard to store metrics, he believed

that the issuing of the CAFs was based on his disability. Plaintiff believes this is supported given his

ability to refute the CAFs thus far as well as the testimony of Kaila Smith regarding the construction

of her statement. It should be noted that at this point CAF-3 had not been issued.

         On April 30, 2018, Lively forwarded a complaint which had had come through the customer

complaint program. See Exhibit V. This complaint seemingly was opened on April 30th; however,

there are no details as to the complaint in the report or in the email sent from Lively. Defendant is

comfortable resting on the assumption that this is one of the incidents outlined in CAF-3 even though

there is nothing in the documentation to support that theory.


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        On May 4, 2018, a complaint was opened through the customer complaint program which

detailed an incident that occurred on May 2, 2018. The customer claimed that Plaintiff stated that he

was not a mechanic when asked about repairs and stated the “store has a bad attitude”. See Exhibit

W.

        On May 7, 2018, CAF-3 notes that a customer called “C1487” with a complaint about an

online merchandise order. Plaintiff was General Manager for the D’Iberville store which is identified

in all documents as C0724, including this particular CAF. Given that no other documentation supports

this alleged incident, it is Plaintiff’s position that this was included in the CAF in error and as a reason

for Lively to finally issue CAF-3 – a document that he’d been assembling since April 16, 2018. On

May 8, 2018, CAF-3 was finally issued. The internal investigation against Lively was still ongoing at

this point.

                    iv. The September 18th CAF (“CAF-4”)

        On September 18, 2018, CAF-4 was issued which resulted in final termination and is attached

hereto as Exhibit X. The CAF notes an incident that occurred on September 13, 2018; however,

Defendant has provided no customer complaint, supporting emails, statements, or other

documentation which support that this complaint even occurred. CAF-4 also cites to the three

previous CAFs which were issued over the course of the previous eight (8) months.

        Plaintiff recalled that a customer came into the store, requesting furniture; however, she had

not filled out the necessary forms. Unfortunately, while Plaintiff was explaining this to the customer,

she became agitated to the point that her husband and son were trying to get her to leave the store.

The incident escalated and the police were called to the store. This incident was witnessed by Kaila

Smith; however, she was not questioned about this incident. See Exhibit S. Even more notable is that

there isn’t anything in the documentation provided by Defendant which noted that Plaintiff was so

concerned for the safety of the store that authorities were called.


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          Plaintiff was ultimately terminated on September 18, 2018; however, the internal

complaint/investigation was not concluded regarding Plaintiff’s complaint against Jamie Lively until

September 28, 2018. See Exhibit T.

                           ARGUMENT & RELEVANT AUTHORITY

    I.       PLAINTIFF’S CLAIM FOR DISCRIMINATION PURSUANT TO THE ADA
             SHOULD SURVIVE SUMMARY JUDGMENT

    The Americans with Disabilities Act (“ADA”) prohibits an employer from “discriminat[ing]

against a qualified individual on the basis of disability” by, among other things, terminating the

individual's employment. 42 U.S.C. § 12112(a). In a discriminatory-termination action under the ADA,

an employee may either present direct evidence that they were discriminated against because of their

disability or alternatively proceed under the burden-shifting analysis first articulated in McDonnell

Douglas Corp. v. Green, 411 U.S. 792, 93 S.Ct. 1817, 36 L.Ed.2d 668 (1973). Plaintiff in this case

concedes that he is offering circumstantial evidence with regard to the allegations set forth in this

matter.

    When utilizing the McDonnel Douglas framework, the Plaintiff must make a prima facie showing of

discrimination. Once this is done, a presumption of discrimination arises, and “’the employer must

‘articulate a legitimate non-discriminatory reason for the adverse employment action[. . .] The burden

then shifts to the plaintiff to show the articulated reason is pretextual.” Burton v. Freescale Semiconductor,

Inc., 798 F.3d 222, 227 (5th Cir. 2015). Simply put, “[. . .] a prima facie case of discrimination plus a

showing that the proffered reason is pretextual is typically enough to survive summary judgment.”

E.E.O.C. v. LHC Grp., Inc., 773 F.3d 688, 694 (5th Cir. 2014).

    Plaintiff submits that he, through the culmination of the circumstantial evidence that he has

presented in this case, he can satisfy the three-prong requirements laid out in the McDonell Douglas

framework to shift the burden back to the Defendant. While Plaintiff believes that Defendant’s

proffered reasons are lacking in legitimacy, there is significant proof that the reasons are pretextual.

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Alternatively, if pretext does not carry Plaintiff’s argument, Plaintiff submits that there is at least a

mixture of motives behind Defendant’s actions.

            a. Plaintiff’s Prima Facie Case for Discrimination

        In order to prove a prima facie case for discrimination, Plaintiff must show that (1) he is disabled

or regarded as disabled within the meaning of the ADA, (2) he is qualified for the job position, and

(3) he was subjected to an adverse employment action on account of his disability or perceived

disability. Hebert v. Ascension Par. Sch. Bd., 396 F. Supp. 3d 686, 693 (M.D. La. 2019)

                     i. Plaintiff Has a Disability as Contemplated by the ADA

        It is well settled that the ADA defines “disability” as “a physical or mental impairment that

substantially limits one or more major life activities of such individual.”42 U.S.C. § 12102(1). To

determine whether one has a disability, there is a three-part test for assessment which includes: (1)

impairment, (2) major life activity, and (3) whether the impairment substantially limits at least one

major life activity. See Waldrip v. Gen. Elec. Co., 325 F.3d 652 (5th Cir. 2003).

        Plaintiff is legally blind and has suffered from deteriorating vision impairment since his initial

battle with a brain tumor in 2004. As noted in documentation to the Social Security Administration,

he recognized that he “cannot see enough to drive.” See Exhibit AA. This is an activity that

Defendant was well aware were issues for Plaintiff during his employment given his execution of

multiple Driver Exemption Forms and the voluntary surrender of his driver’s license. Plaintiff also

noted increasing difficult reading, walking in unfamiliar areas, and other day-to-day activities. See

Exhibit AA.

        The ADA defines neither “substantial limits” nor “major life activities,” but the regulations

promulgated by the EEOC under the ADA provide significant guidance. Dutcher v. Ingalls Shipbuilding,

53 F.3d 723, 726 (5th Cir. 1995). Using these regulations, “[m]ajor life activities means functions such

as caring for oneself, performing manual tasks, walking, seeing, hearing, speaking, breathing, learning,


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and working.” 29 C.F.R.§ 1630.2(i) To determine if an impairment substantially limits a major life

activity, one has to assess the severity, duration, and long-term impact of the impairment. Id.

Plaintiff’s eyesight has been deteriorating over a long span of time with no improvement. No

improvement is expected. It is clear that Plaintiff satisfies this prong of establishing his prima facie case.

                     ii. Plaintiff Was Qualified for his Position

        A “qualified individual with a disability” is defined by the ADA as someone who has a

disability, but who, “with or without reasonable accommodation, can perform the essential functions

of the employment position that such individual holds or desires.” 42 U.S.C. § 12111(8). See also Giles

v. Gen. Elec. Co., 245 F.3d 474, 483 (5th Cir. 2001). It is understood that “consideration shall be given

to the employer's judgment as to what functions of a job are essential” and this shall be evidence as

to what constitutes essential functions and duties. Hebert, 396 F. Supp. 3d at 699 (M.D. La. 2019).

        Simply put, Plaintiff was performing the essential function of his job, with an accommodation

for driving, when he was wrongfully terminated and had done so for quite some time. Throughout

his employment history with Defendant, Plaintiff was terminated multiple times when a new

supervisor came on board and took issue with his growing inability to drive only for Plaintiff to be

reinstated again and again. However, when his last supervisor, Jamie Lively, took the reins – he was

going to make sure Plaintiff was terminated and that it would be permanent. Unfortunately, he

succeeded. However, while driving is listed in the job description provided by Defendant, it was very

rare that a General Manager had to drive and Plaintiff rarely did so before it became impossible. (See

Exhibit Z; Santana June 28, 2021 Dep. 56)

        In its Motion, Defendant alleged that Plaintiff’s application for benefits are inconsistent with

the Plaintiff’s status as a “qualified individual”. This is completely incorrect. “Pursuit, and receipt, of

SSDI benefits does not automatically estop a recipient from pursuing an ADA claim or erect a strong




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presumption against the recipient's ADA success.” Cleveland v. Pol'y Mgmt. Sys. Corp., 526 U.S. 795, 119

S. Ct. 1597, 1598, 143 L. Ed. 2d 966 (1999).

         It has been well settled that a SSDI claim and an ADA claim can comfortably exist side by

side. Id. The only caveat is that courts have established that an “an ADA plaintiff cannot ignore [his]

SSDI contention that [his] was too disabled to work, but must explain why that contention is

consistent with [his] ADA claim that [he] can perform the essential functions of [his] job, at least with

reasonable accommodation.” Id [alternation added]. Essentially, there is nothing preventing these

claims from existing simultaneously; however, an ADA Plaintiff should be prepared to explain

inconsistencies to the Court. “A plaintiff's explanation of the apparent inconsistency must be

‘sufficient to warrant a reasonable juror's concluding that, assuming the truth of, or the plaintiff's good

faith belief in, the earlier statement, the plaintiff could nonetheless perform the essential functions of

[his] job, with or without reasonable accommodation.’ ” Equal Emp. Opportunity Comm'n v. Vicksburg

Healthcare, L.L.C., 663 F. App'x 331, 333 (5th Cir. 2016)[alteration added].

         Plaintiff was employed by Defendant for 13 years – the better part of his working life. The

history was turbulent and not always great, but it was familiar and workable for his worsening

disability.   For the most part, Defendant accommodated his inability to drive and his store

performance was good. That was, until the last eight (8) months of his employment when he was hit

with disciplinary that is unprecedented in his time with Defendant and a supervisor who took issue

with Plaintiff’s limitations. As of September 18, 2018, Defendant lost the only stream of income that

his family had and he had some pretty big obstacles to overcome when faced with potential new

employers. Defendant had to find a stream of income for his family while he assessed the possibility

of finding new employment. For further explanation of his decision, Plaintiff would submit his

affidavit, attached hereto Exhibit BB.




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                    iii. Plaintiff Suffered an Adverse Employment Action

        Finally, Plaintiff must show that he was subjected to an adverse employment action which

includes “only ultimate employment decisions such as hiring, granting leave, discharging, promoting,

or compensating.” Welsh v. Fort Bend Indep. Sch. Dist., 941 F.3d 818, 824 (5th Cir. 2019). However,

pursuant to the ADA, “discrimination need not be the sole reason for the adverse employment

decision, [but] must actually play a role in the employer's decision making process and have a

determinative influence on the outcome.” Pinkerton v. Spellings, 529 F.3d 513, 519 (5th Cir. 2008).

        It is clear that Plaintiff suffered an adverse employment action in the form of ultimate

termination. Defendant would point to CAF-4 as the only document which resulted in an adverse

employment action; however, that is very short-sided given the Defendant’s own discipline policy as

well as the motives of Jamie Lively.

        As provided herein, Plaintiff provided information which he believes cast a shadow of doubt

over Lively’s motive for the barrage of CAFs during Plaintiff’s last months. Plaintiff submits that

the sudden campaign of warnings was Lively’s intention to use the Defendant’s tiered disciplinary

structure. The three previous CAFs were noted as supporting information in CAF-4 which would

indicate that the adverse employment action started which this disciplinary process was initiated in

January 24, 2018. Plaintiff understood that the typical progression for employee discipline to be

verbal warning, written warning, final written warning, and termination. (See Exhibit Z; Santana

June 28, 2021 Dep. 66:10-15) Moreover, Defendant, itself, claims in its Motion that CAF-2, CAF-3,

and CAF-4 is the root of their alleged legitimate, non-discriminatory reasons for termination. (See

Def. Brief in Support of Its Motion for Summary Judgment, Docket No. 99, pages 18-19) Considering the

questions surrounding the validity and motivation of Plaintiff’s CAFs as well as the Defendant’s

disciplinary policy, the adverse action seemingly progresses over a period of time.




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             b. Defendant’s Proffered Reasons for Termination are Questionable at Best

        Plaintiff believes that he has made an adequate showing for a prima facie case for discrimination.

Therefore, the analysis must turn to the Defendant’s proffered reason for termination. As stated

above, Defendant points to CAF-2, CAF-3, and CAF-4 as providing the premise for its adverse action.

However, Plaintiff has provided explanation which should pose a question of fact with regard to the

motives behind these documents.         Plaintiff recognizes that “terminating an employee whose

performance is unsatisfactory according to management's business judgment is legitimate and

nondiscriminatory as a matter of law. E.E.O.C. v. LHC Grp., Inc., 773 F.3d 688, 701–02 (5th Cir. 2014).

However, the reasons proffered by the Defendant may, on its face, seem to be about job performance,

but these CAFs were part of a campaign to eliminate Plaintiff from his job due to his disability.

        With regard to CAF-2, Plaintiff noted that the reasons provided in this document were

misconstrued over a month later by Lively to paint the Plaintiff in a negative light. Moreover, the

secondary allegation in this CAF was made against Plaintiff on a day that he was not even at work.

        With regard to CAF-3, the fact that Kaila Smith is provided sworn testimony that Lively

demanded to change her statement during his ‘investigation’ of a customer complaint should call his

methods of investigation as a whole into question. (See Exhibit S) Further, this CAF was issued on

May 18, 18 2018 after Plaintiff filed an internal complaint against Lively for his discriminatory

practices.

        Finally, with regard to CAF-4, it is noted on the document that this final termination warning

is coming on the heels of the previous CAFs issued by Jamie Lively – all of which have been called

into question by his actions. Defendant is hanging its hat on a string of documents that, at the very

least, are subject to fact questions as the trustworthiness of these documents are at issue.




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            c. Defendant’s Proffered Reasons are Pretextual or, Alternatively, Are Rooted in Mixed
               Motives

        While Plaintiff does not believe that Defendant’s proffered reasons are trustworthy, Plaintiff

does submit to this Court that the Defendant’s reasons are pretextual. It has been determined in the

Fifth Circuit that, if an employer’s reasoning is considered legitimate and nondiscriminatory, Plaintiff

should then “offer sufficient evidence to create a genuine issue of material fact either (1) that the

defendant's reason is not true, but is instead a pretext for discrimination (pretext alternative); or (2)

that the defendant's reason, while true, is only one of the reasons for its conduct, and another

motivating factor is the plaintiff's protected characteristic (mixed-motive[s] alternative).” Hebert v.

Ascension Par. Sch. Bd., 396 F. Supp. 3d 686, 706 (M.D. La. 2019). For the Court’s consideration, the

Plaintiff applies the facts in this case to both methods.

                     i. Pretext Alternative

        Pretext is established “either through evidence of disparate treatment or by showing that the

employer's proffered explanation is false or ‘unworthy of credence.’ ” See Laxton v. Gap Inc., 333 F.3d

572, 578 (5th Cir. 2003) (quoting Wallace v. Methodist Hosp. Sys., 271 F.3d 212, 220 (5th Cir. 2001)). An

employee seeking to show pretext must rebut each discrete reason proffered by the employer. Burton

v. Freescale Semiconductor, Inc., 798 F.3d 222, 233 (5th Cir. 2015). Plaintiff may meet this burden by

showing “evidence of disparate treatment or by showing that the employer's explanation is false or

unworthy of credence.” Equal Emp. Opportunity Comm'n v. Steel Painters LLC, 433 F. Supp. 3d 989, 1005

(E.D. Tex. 2020)

        Plaintiff has rebutted each of the CAFs upon which Defendant rests its decision herein. Each

CAF issued by Jamie Lively is rooted in questionable motive that the Plaintiff has offered supporting

documents, sworn testimony, and other evidence to rebut. Plaintiff believes that the evidence

provided in this memorandum is sufficient to show that much of Defendant’s proffered reason (which

rests upon the assertions in the named CAFs) is unworthy of credence. When a Plaintiff has provided

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sufficient evidence demonstrating that the employer’s explanation is unworthy, taken together with

Plaintiff’s prima facie case, it is “likely to support an inference of discrimination even without further

evidence of defendant's true motive.” Id (citing Haire v. Bd. of Supervisors of La. State Univ. Agric. &

Mech. Coll., 719 F.3d 356, 365 n.10 (5th Cir. 2013). Plaintiff believes that, with the evidence and

testimony provided in this supporting memorandum, he has shown pretext with Defendant’s

proffered reasons.

                     ii. Mixed Motives Alternative

        However, if the Court does not find that Plaintiff has established pretext, the Fifth Circuit has

provided that the inquiry does not stop there. It has been determined that “discrimination need not

be the sole reason for the adverse employment decision ... [so long as it] actually play[s] a role in the

employer's decision making process and ha[s] a determinative influence on the outcome” See both

Pinkerton v. Spellings, 529 F.3d 513, 519 (5th Cir.2008) and E.E.O.C. v. LHC Grp., Inc., 773 F.3d 688,

702 (5th Cir. 2014). An employee alleging discrimination “can still survive summary judgment by

showing that an employment decision was “based on a mixture of legitimate and illegitimate motives

... [and that] the illegitimate motive was a motivating factor in the decision.” E.E.O.C. v. LHC Grp.,

Inc., 773 F.3d at 702. If the Plaintiff is successful in showing that an illegitimate reason was the

motivating factor, the burden shifts back to the employer to “show that it would have taken the same

action in the absence of the impermissible motivating factor.” Rachid v. Jack In The Box, Inc., 376 F.3d

305, 309–10 (5th Cir. 2004).

        At minimum, Plaintiff has provided that the issuance of the CAFs may have stemmed from

actual occurrences, but he was held to a different standard than is expected. Moreover, Plaintiff has

succeeded in raising a question as to whether Lively appropriately investigated and handled these

complaints and job performance concerns due to his issue with Plaintiff’s disability.




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          For example, with regard to CAF-2, the issue Plaintiff had with another General Manager was

noted almost a month after the incident occurred. See Exhibit L. Plaintiff attempted to show Lively

the email and explain that the misunderstanding had been clarified right after it occurred; however, he

didn’t want to hear it. (See Exhibit Z; Santana June 28, 2021 Dep. 87:3-8) To add insult to injury,

the second allegation in CAF-2 was made against Plaintiff when he wasn’t even present at the store.

          When considering the motive behind CAF-3, there is no question that there were customer

complaints. See Exhibit O. Plaintiff worked in a rent-to-own store where sales is only half the job –

you also act as debt collector and, sometimes, have to repossess items which go unpaid. Customers

will complain. So, when they do, it’s up to Lively to investigate these complaints above and beyond

what the customers state happened. He seemingly did that for one of the incidents listed in CAF-3;

however, it became clear that Lively was constructing a narrative, focused on building a case against

Plaintiff. His methods even confused and made other employees uncomfortable. See Exhibit S.

After his demands to get the narrative he wanted went unsuccessful, it’s clear that his investigatory

methods became singularly focused. He did not speak to sales associates who were involved in these

incidents nor did he speak with the Plaintiff.

          Finally, CAF-4 brought down the final blow. However, this document was predicated by a

series of problematic CAFs issued by a supervisor with illegitimate motives – or at least questionable

motives, at best. After years of employment, Plaintiff was faced with a barrage of disciplinary action

by a supervisor that took issue with a disability that Plaintiff had been working with for quite some

time. Defendant’s motives are a question of fact and should satisfy the mixed motives alternative to

bring their proffered reasons to an inquiry.

    II.      PLAINTIFF’S CLAIM FOR RETALIATION SHOULD SURVIVE SUMMARY
             JUDGMENT

    As with Plaintiff’s claim for discrimination, the Fifth Circuit applies the McDonnell Douglas

framework where the claim is based on circumstantial evidence. Similarly, Plaintiff concedes that he

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is presenting circumstantial evidence in support of his claim for retaliation. In this circumstance, the

Plaintiff has the burden to prove a prima facie case of retaliation by showing (1) she engaged in a

protected activity; (2) she “suffered an adverse employment action”; and (3) “a causal connection

exists between the protected activity and the adverse employment action. Brown v. Wal-Mart Stores E.,

L.P., 969 F.3d 571, 577 (5th Cir. 2020. Moreover, retaliation claims must carry a ‘but-for’ causation

stage, but not at the prima facie stage. Garcia v. Prof'l Cont. Servs., Inc., 938 F.3d 236, 242 (5th Cir. 2019).

At this stage, Plaintiff can meet his burden of causation by showing “close enough timing between his

protected activity and his adverse employment action”. Brown, 969 F.3d at 577 (5th Cir. 2020).

    As with the discrimination claim, if the Plaintiff can carry his prima facie case across the finish line,

the burden shifts to the Defendant to product a “legitimate, non-discriminatory reason” for the

adverse employment action. Patrick v. Ridge, 394 F.3d 311, 315 (5th Cir. 2004). If this is accomplished,

the Plaintiff is required to show that the proffered reason is pretextual. Id. Ultimately, in order to

survive a motion for summary judgment, Plaintiff must show “a ‘conflict in substantial evidence’ ” on

the question of whether the employer would not have taken the adverse employment action but for

the protected activity.” Musser v. Paul Quinn Coll., 944 F.3d 557, 561 (5th Cir. 2019) (quoting Hernandez

v. Yellow Transp., Inc., 670 F.3d 644, 658 (5th Cir. 2012)). Evidence is considered “substantial” if it is

such “quality and weight that reasonable and fair-minded men in the exercise of impartial judgment

might reach different conclusions.” Id.

            a. Plaintiff’s Prima Facie Case for Retaliation

                      i. Plaintiff Was Engaged in a Protected Activity

        “An employee has engaged in protected activity when [he] has (1) ‘opposed any practice made

an unlawful employment practice’ by Title VII or (2) ‘made a charge, testified, assisted, or participated

in any manner in an investigation, proceeding, or hearing’ under Title VII.” Thompson v. Somervell Cty.,

Tex., 431 F. App'x 338, 341 (5th Cir. 2011). There is no dispute that Plaintiff filed an internal


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complaint against his supervisor, Jamie Lively, on April 18, 2018. See Exhibit T. This complaint

highlighted potential discriminatory action that Plaintiff indicated had been ongoing for some time.

                    ii. Plaintiff Suffered an Adverse Employment Action

         There seemingly is no dispute that Plaintiff suffered an adverse employment action –

termination. Plaintiff would apply his same argument to his retaliation claim as he did with his

discrimination claim as it pertains to his adverse employment action. Plaintiff submits that the sudden

campaign of warnings was Lively’s intention to use the Defendant’s tiered disciplinary structure. The

three previous CAFs were noted as supporting information in CAF-4 which would indicate that the

adverse employment action started which this disciplinary process was initiated in January 24, 2018.

Plaintiff understood that the typical progression for employee discipline to be verbal warning, written

warning, final written warning, and termination. (See Exhibit Z; Santana June 28, 2021 Dep. 66:10-

15)

                    iii. A Causal Connection Exists between the Protected Activity and Adverse Action

         The causal connection element is where the dispute lies with regards to this claim. As stated

above, “[a]t the prima facie case [stage], a plaintiff can meet his burden of causation simply by showing

close enough timing between his protected activity and his adverse employment action.” Garcia, 938

F.3d at 243. To establish this causal connection, “temporal proximity, unfounded performance

concerns, warnings from other employees not to engage in the protected activity, and disparate

treatment” is enough. Musser v. Paul Quinn Coll., 944 F.3d 557 (5th Cir. 2019).

         First, Plaintiff will consider the concept of “temporal proximity” as the Defendant called the

five (5) months between the internal complaint and termination insufficient. Initially, Plaintiff

recognizes that the Fifth Circuit has stated that a “five month lapse is not close enough.” See Raggs v.

Mississippi Power & Light Co., 278 F.3d 463, 471 (5th Cir. 2002). However, in this particular case, the

five months represents the filing of the internal complaint – not when it was resolved. In fact, the


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complaint was still open as the date of Plaintiff’s termination and was not closed until September 28,

2018. The internal complaint, which Jamie Lively was aware of7, was ongoing during Lively’s issuance

of CAF-3 and CAF-4.

           When considering that the internal complaint was still ongoing at the time of termination

together with the questions raised about Lively’s supervision and motives behind his disciplinary

actions as well as his treatment of the Plaintiff, there is a causal connection between the protected

activity (internal complaint) and the adverse employment action (termination).

               b. Defendant’s Proffered Reasons are Pretextual

           Similarly to his claim for discrimination, Plaintiff must also establish pretext with regards to

Defendant’s proffered reasons for its action. “Pretext can be proven by any evidence that casts doubt

on the credence of the employer's proffered justification for the adverse employment action” Brown,

969 F.3d at 578. Defendant cites to ‘poor work performance’ and again point to CAF-3 and CAF-4

to highlight Plaintiff’s alleged violation, stating that CAF-3 and CAF-4 is consistent with the allegations

of rude conduct submitted in CAF-2 prior to the internal complaint. This is misleading.

           CAF-2 documented a misunderstanding between two General Managers which was clarified

in an email the same day it happened. The ‘investigator’ of this incident did not even discuss this

incident with Plaintiff before issuing a CAF a month later. (See Exhibit Z; Santana June 28, 2021

Dep. 87:3-8) Nevertheless, there was no customer complaints documented in CAF-2. The second

allegation in CAF-2 was a charge of leaving the trucks in a state of disarray. However, Plaintiff wasn’t

even at work the day in question. The only thing CAF-2 establishes is Lively’s inability to conduct a

thorough investigation. Plaintiff has reiterated many times in this memorandum the issues with CAF-

3 and CAF-4. Again, at best, the proffered documents, testimony, and information casts a doubt on

the credence of Defendant’s proffered reasons for its action.


7   See Exhibit Y; Lively Dep. 27-29)

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         In order to avoid summary judgment, Plaintiff must show “a conflict in substantial evidence”

on the question of whether the employer would not have taken the action “but for” the protected

activity. Feist v. Louisiana, Dep't of Just., Off. of the Atty. Gen., 730 F.3d 450, 454 (5th Cir. 2013). Evidence

is substantial if it is of “such quality and weight that reasonable and fair minded persons in the exercise

of impartial judgment might reach different conclusions.” Sherrod v. Am. Airlines, Inc., 132 F.3d 1112,

1122 (5th Cir. 1998).

         Plaintiff has noted that it was clear to him that Jamie Lively took issue with his disability given

the change in his demeanor once he learned the severity of Plaintiff’s impairment. (See Exhibit Z;

Santana June 28, 2021 Dep. 27:5-12). After that, Plaintiff’s long history with the Defendant without

any significant disciplinary action was flipped on its head by Lively’s sudden change of demeanor.

First, it was humiliating Plaintiff in a meeting with other General Managers8. Then, Lively issued

disciplinary warnings about an issue that had never really been a problem before, citing a checklist that

Plaintiff had never been privy to.9 Finally, on April 16, 2018, Lively ‘investigated’ a customer

complaint by demanding an employee amend her observations to meet his narrative.10 Once Plaintiff

filed his internal complaint, the writing was on the wall and Lively proceeded his incessant campaign

to build a case against Plaintiff with termination as the endgame. This came in the form of CAF-3

and CAF-4. While there is no direct evidence that the internal complaint ramped up Lively’s efforts

to build a case against Plaintiff – at minimum, it presents a question of fact that should survive

summary judgment.




8 See Exhibit Z; Santana June 28, 2021 Dep. 27-30.
9 (See Exhibit Z; Santana June 28, 2021 Dep. 71-73).
10 See Exhibit S.



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    III.    PLAINTIFF MADE GOOD FAITH ATTEMPTS TO MITIGATE HIS
            DAMAGES

    The employer has the burden of proving failure to mitigate, and may do so by demonstrating that

substantially equivalent work was available and that the plaintiff did not exercise reasonable diligence

to obtain it. Miles-Hickman v. David Powers Homes, Inc., 613 F. Supp. 2d 872, 887 (S.D. Tex. 2009).

    Plaintiff had been on a roller coaster with Defendant over the past 13 years - being terminated

multiple times for his inability to drive due to his disability and then reinstated within weeks all while

his vision impairment worsened. Plaintiff did the best he could to mitigate his damages by filing for

SSDI benefits – which were approved. As stated in his affidavit offered in support of this Response,

he provided the only stream of income for his family. After his abrupt termination and a designation

as “do not rehire” by Defendant, Plaintiff knew that his ability to find substantially equivalent work

would be difficult given the nature and severity of his impairment in comparison to when he first

started with Defendant.

    The reasonableness of Plaintiff’s efforts and diligence “should be evaluated in light of the

individual characteristics of the claimant and the job market.” Sellers v. Delgado Coll., 902 F.2d 1189,

1193 (5th Cir. 1990)[emphasis added]. Moreover, substantially equivalent employment is that which

“affords virtually identical promotional opportunities, compensation, job responsibilities, working

conditions, and status as the position from which the Title VII claimant has been discriminatorily

terminated.” Id. Considering Plaintiff’s individual circumstances, he felt that applying for disability

benefits was the best way to mitigate his loss of pay given the severity of his vision impairment and

the niche work that he was doing with the Defendant with the accommodations that he was receiving.

    WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that the Court

DENY the Defendant’s Motion for Summary Judgment and permit this matter to move forward.

                                <<SIGNATURE ON NEXT PAGE>>



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  This the 15th day of February, 2022.

                                           Respectfully submitted,
                                           BY: __/s/Greta Kemp Martin________________
                                               GRETA KEMP MARTIN, MSB# 103672




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                                  CERTIFICATE OF SERVICE

       I, undersigned counsel, do hereby certify that a true and correct copy of the foregoing
discovery requests will be provided to all counsel of record and necessary parties and this notice will
be provided to the same via this Court’s electronic filing system.
       THIS the 15th day of February, 2022.


                                                Respectfully submitted,


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